 Case 20-65736-pwb                Doc 21 Filed 10/01/20 Entered 10/02/20 02:21:33                                   Desc Imaged
                                       Certificate of Notice Page 1 of 3
                                        UNITED STATES BANKRUPTCY COURT

                                                  Northern District of Georgia


In     Debtor(s)
Re:    Victor Vu Nguyen                                              Case No.: 20−65736−pwb
       293 Grand Manor Dr.                                           Chapter: 7
       Marietta, GA 30068                                            Judge: Paul W. Bonapfel

       xxx−xx−9182



                                            NOTICE SETTING DEADLINE FOR
                                              FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.
     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:


                                           Non−government proof of claim: 12/28/20



                                              Government proof of claim: 12/28/20


                                              File with:
                                              United States Bankruptcy Court
                                              1340 United States Courthouse
                                              75 Ted Turner Drive SW
                                              Atlanta, GA 30303


Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                      (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                       If you have already filed your proof of claim, it is not necessary to refile.




                                                                                            M. Regina Thomas
                                                                                            Clerk of Court
                                                                                            U.S. Bankruptcy Court
Dated: September 29, 2020
Form ntcpoc
       Case 20-65736-pwb                    Doc 21 Filed 10/01/20 Entered 10/02/20 02:21:33                                              Desc Imaged
                                                 Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                               Northern District of Georgia
In re:                                                                                                                 Case No. 20-65736-pwb
Victor Vu Nguyen                                                                                                       Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 113E-9                                                  User: avilesj                                                               Page 1 of 2
Date Rcvd: Sep 29, 2020                                               Form ID: ntcpoc                                                           Total Noticed: 10
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 01, 2020:
Recip ID                   Recipient Name and Address
db                     +   Victor Vu Nguyen, 293 Grand Manor Dr., Marietta, GA 30068-3689
23059515               +   County Of Orange/Child Support Services, Attn: Bankruptcy, Po Box 22099, Santa Ana, CA 92702-2099
23059516               +   Credit Control Corporation, Attn: Bankruptcy, Po Box 120568, Newport News, VA 23612-0568
23059518               +   Infiniti Financial Services, Nissan Motor Accep Bankruptcy, PO Box 660360, Dallas, TX 75266-0360
23059519               +   SCE (Southern California Edison), Attn: Bankruptcy, Po Box 800, Rosemead, CA 91770-0800

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: BSGHAYS.COM
                                                                                        Sep 30 2020 00:58:00      S. Gregory Hays, Hays Financial Consulting, LLC,
                                                                                                                  Suite 555, 2964 Peachtree Road, Atlanta, GA
                                                                                                                  30305-4909
23059512               + EDI: AMEREXPR.COM
                                                                                        Sep 30 2020 00:58:00      Amex, Correspondence/Bankruptcy, Po Box
                                                                                                                  981540, El Paso, TX 79998-1540
23059513               + EDI: BANKAMER.COM
                                                                                        Sep 30 2020 00:53:00      Bank of America, 4909 Savarese Circle,
                                                                                                                  Fl1-908-01-50, Tampa, FL 33634-2413
23059517               + EDI: CRFRSTNA.COM
                                                                                        Sep 30 2020 00:53:00      Credit First National Association, Attn:
                                                                                                                  Bankruptcy, Po Box 81315, Cleveland, OH
                                                                                                                  44181-0315
23059514                   EDI: JPMORGANCHASE
                                                                                        Sep 30 2020 00:58:00      Chase Card Services, Attn: Bankruptcy, Po Box
                                                                                                                  15298, Wilmington, DE 19850

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Infiniti Financial Services

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
       Case 20-65736-pwb                      Doc 21 Filed 10/01/20 Entered 10/02/20 02:21:33                                    Desc Imaged
                                                   Certificate of Notice Page 3 of 3
District/off: 113E-9                                                  User: avilesj                                                     Page 2 of 2
Date Rcvd: Sep 29, 2020                                               Form ID: ntcpoc                                                 Total Noticed: 10

Date: Oct 01, 2020                                            Signature:         /s/Joseph Speetjens




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 29, 2020 at the address(es) listed
below:
Name                                  Email Address
Daniel E. Raskin
                                      on behalf of Debtor Victor Vu Nguyen danieleraskin1@gmail.com;R52148@notify.bestcase.com

Office of the United States Trustee
                                      ustpregion21.at.ecf@usdoj.gov

S. Gregory Hays
                                      ghays@haysconsulting.net saskue@haysconsulting.net;GA32@ecfcbis.com


TOTAL: 3
